                                 THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         ASHEVILLE DIVISION
                                CRIMINAL CASE NO. 1:06-cr-00005-MR-DLH


               UNITED STATES OF AMERICA,        )
                                                )
                    vs.                         )                       ORDER
                                                )
               WILLIAM NEAL BOONE.              )
               ________________________________ )

                         THIS MATTER is before the Court pursuant to 18 United States Code

               § 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

                         The Defendant has filed a motion for a reduction of his sentence. [Doc.

               273]. The Probation Office has submitted a supplement to the Defendant’s

               Presentence Report (“PSR”) in this matter. [Doc. 303]. Based thereon, the

               Court determines that the United States Attorney should provide the Court

               with its position regarding the PSR supplement.

                         IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

               the entry of this Order, the United States Attorney shall file pleadings

               responsive to the Probation Officer’s PSR supplement filed in this matter.

                         IT IS SO ORDERED.
Signed: April 28, 2015




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